      Case 2:24-cv-03392 Document 1 Filed 05/08/24 Page 1 of 10 PageID #: 1




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
-----------------------------------------------------------------------X
SANTOS ORTEGA, on behalf of himself and all other
persons similarly situated,
                                                                           COMPLAINT
                                   Plaintiff,
        -against-                                                          FLSA Collective Action

THE PIZZERIA OF ISLIP LLC, PAUL SACCOCCIO,
CLIFFORD WEINSTEIN, and DANIEL SACCOCCIO,

                                    Defendants.
-----------------------------------------------------------------------X

        Plaintiff, SANTOS ORTEGA (“Plaintiff”), by and through his attorneys, the Romero Law

Group PLLC, on behalf of himself and all other persons similarly situated, complaining of the

Defendants, THE PIZZERIA OF ISLIP LLC, PAUL SACCOCCIO, CLIFFORD WEINSTEIN,

and DANIEL SACCOCCIO (collectively “Defendants”), alleges as follows:

                                       NATURE OF THE ACTION

        1.       Defendants are engaged in the restaurant business. Plaintiff performed non-exempt

work for the Defendants. Plaintiff regularly worked more than 40 hours in a work week but was

not paid overtime in violation of the Fair Labor Standards Act, 29 U.S.C. § 201 et seq., (“FLSA”).

        2.       Plaintiff brings this action under the FLSA on behalf of himself and all similarly

situated current and former employees who elect to opt into this action pursuant to the collective

action provision of the FLSA, 29 U.S.C. § 216(b).

        3.       Plaintiff also brings this action to recover unpaid overtime wages New York Labor

Law Article 19, § 650 et seq., and the supporting New York State Department of Labor

Regulations, 12 N.Y.C.R.R. Part 146 (“NYLL”).




                                                        1
     Case 2:24-cv-03392 Document 1 Filed 05/08/24 Page 2 of 10 PageID #: 2




                                  JURISDICTION AND VENUE

       4.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1337

and supplemental jurisdiction over Plaintiff’s state law claims pursuant to 28 U.S.C. § 1367.

       5.      In addition, the Court has jurisdiction over Plaintiff’s claims under the FLSA

pursuant to 29 U.S.C. § 216(b).

       6.      Venue is proper in the Eastern District of New York pursuant to 28 U.S.C. § 1391.

Defendants do business in the State of New York, within the Eastern District of New York.

                                           PARTIES

       7.      Defendant, The Pizzeria of Islip LLC (“The Pizzeria”), is a domestic limited

liability company that operates restaurants located in Bayport, Islip, Bayshore, Lindenhurst, Lake

Grove and Babylon, New York.

       8.      At all times relevant, Defendants are engaged in the restaurant business and are an

“enterprise engaged in commerce” within the meaning of the FLSA in that they (1) have and have

had employees engaged in commerce or in the production of goods for commerce, or that handle,

sell, or otherwise work on goods or materials that have been moved in or produced for commerce,

and (2) have and have had annual gross volume of sales of not less than $500,000.00.

       9.      At all times relevant, Defendants have “employees engaged in commerce or in the

production of goods for commerce, or…has employees handling, selling, or otherwise working on

goods or materials that have been moved in or produced for commerce” as required by the FLSA.

       10.     Defendants’ restaurant requires a “wide variety” of materials that have moved

through interstate commerce such as foodstuffs, kitchen utensils, cooking vessels, cleaning

supplies, paper products, furniture, and more.




                                                 2
     Case 2:24-cv-03392 Document 1 Filed 05/08/24 Page 3 of 10 PageID #: 3




          11.   At all relevant times, Plaintiff was a non-exempt employee of the Defendants and

an “employee” within the meaning of Section 3(e) of the FLSA, 29 U.S.C. § 203(e), and New

York State Labor Law § 190(2).

          12.   Plaintiff’s duties included preparing and cooking food. In performing his duties,

Plaintiff handled or worked with goods, such as fruit, grains, beef, poultry, fish, cheese, dairy

products and cookware and cooking utensils which undoubtedly moved in interstate commerce.

          13.   At all times relevant, Defendants were and still are an “employer” within the

meaning of Section 3(d) of the FLSA, 29 U.S.C. § 203(d), and New York State Labor Law §

190(3).

          14.   At all times relevant, Defendants have been, and continue to be, an “employer”

engaged in “interstate commerce” and/or in the production of goods” for “commerce” within the

meaning of 29 U.S.C. §203. At all times relevant, Defendants have been, and continue to be, an

“employer” as defined by 29 U.S.C. § 203(D) and by the NYLL § 190(3).

          15.   At all relevant times, Defendant, Paul Saccoccio, was a member of The Pizzeria,

had authority to make payroll and personnel decisions for The Pizzeria, and was active in the day-

to-day management of The Pizzeria, including the payment of wages to the Plaintiff and

determining what wages were paid to Plaintiff. Defendant is liable to Plaintiff as an “employer”

for the unpaid wages Plaintiff seeks to recover.

          16.   At all relevant times, Defendant, Clifford Weinstein, was a member of The Pizzeria,

had authority to make payroll and personnel decisions for The Pizzeria, and was active in the day-

to-day management of The Pizzeria, including the payment of wages to the Plaintiff and

determining what wages were paid to Plaintiff. Defendant is liable to Plaintiff as an “employer”

for the unpaid wages Plaintiff seeks to recover.



                                                   3
     Case 2:24-cv-03392 Document 1 Filed 05/08/24 Page 4 of 10 PageID #: 4




       17.     At all relevant times, Defendant, Daniel Saccoccio, was a member of The Pizzeria,

had authority to make payroll and personnel decisions for The Pizzeria, and was active in the day-

to-day management of The Pizzeria, including the payment of wages to the Plaintiff and

determining what wages were paid to Plaintiff. Defendant is liable to Plaintiff as an “employer”

for the unpaid wages Plaintiff seeks to recover.

                                    STATEMENT OF FACTS

       18.     Plaintiff was employed by Defendants as a cook at The Pizzeria in Islip from in or

about May 2021 to in or about September 24, 2023.

       19.      Throughout his employment with Defendants, Plaintiff regularly worked more

than 40 hours in a workweek. Plaintiff regularly worked from 9:00 a.m. until 9:00 p.m. four days

each workweek, and from 9:00 a.m. until 10:00 p.m. one day each workweek. Plaintiff sometimes

worked six days per workweek.

       20.     Defendants paid Plaintiff in combination of check and cash. Defendants paid

Plaintiff for up to 40 hours at his regular rate by check. Defendants paid Plaintiff for hours worked

after 40 hours per week in cash at Plaintiff’s regular rate of pay.

       21.     Defendants failed to pay Plaintiff overtime for hours worked after 40 hours per

week at the rate of one and one-half times Plaintiff’s regular rate of pay in violation of the FLSA

and NYLL.

       22.     Throughout his employment with Defendants, Plaintiff often worked more than 10

hours in a single day.

       23.     Defendants failed to pay Plaintiff spread-of-hours pay for each day in which their

spread of hours exceeded 10 hours in violation of N.Y. Comp. Codes R. & Regs. 12 § 146-1.6.




                                                   4
      Case 2:24-cv-03392 Document 1 Filed 05/08/24 Page 5 of 10 PageID #: 5




       24.     Defendants failed to provide Plaintiff upon hire with an accurate written notice of

his rate of pay and other information in violation of N.Y. Comp. Codes R. & Regs. 12 § 146-2.2

and Section 195 of the New York State Labor Law.

       25.      Defendants failed to furnish Plaintiff with an accurate statement with every

payment of wages listing the overtime rate or rates of pay, the number of regular hours worked,

and the number of overtime hours worked in violation of N.Y. Comp. Codes R. & Regs. 12 § 146-

2.3 and New York Labor Law § 195(3).

       26.     Defendants failed to post notices explaining wage and hour requirements in

conspicuous places as required by the FLSA, 29 C.F.R. §516.4 and the NYLL, N.Y. Comp. Codes

R. & Regs. 12 § 146-2.4.

                           COLLECTIVE ACTION ALLEGATIONS

       27.     At all relevant times, Plaintiff and the other FLSA Collective Action Plaintiffs are

and have been similarly situated, have had substantially similar job requirements and pay

provisions, and are and have been subject to Defendant’s decision, policy, plan and common

policies, programs, practices, procedures, protocols, routines, and rules willfully failing and

refusing to pay them overtime pay for all hours worked in excess of forty (40) each week.

       28.     Plaintiff also brings FLSA claims on behalf of himself and all non-exempt

employees of Defendants who give their consent, in writing, to become plaintiffs and who worked

in the kitchen and performed duties including, but not limited to, preparing and/or cooking food,

washing dishes, unloading trucks, cleaning and/or maintaining the premises, at any time during

the three (3) years prior to the filing of their respective consent forms.

       29.     Upon information and belief, there are many current and former employees who

are similarly situated to the Plaintiff, who have been underpaid in violation of the FLSA. The



                                                  5
      Case 2:24-cv-03392 Document 1 Filed 05/08/24 Page 6 of 10 PageID #: 6




named Plaintiff is representative of those other workers and is acting on behalf of the Defendants’

current and former employees’ interests as well as his own interest in bringing this action.

       30.     Plaintiff seeks to proceed as a collective action pursuant to 29 U.S.C. § 216(b) on

behalf of himself and all persons who are currently, or have been, employed by the Defendants in

non-exempt positions including, but not limited to, back-of-the house kitchen workers, cooks, line

cooks, food preparers, dishwashers, porters and maintenance workers as at any time during the

three (3) years prior to the filing of their respective consent forms.

       31.     The First Claim for Relief is properly brought under and maintained as an opt-in

collective action pursuant to 29 U.S.C. § 216(b). The FLSA Collective Plaintiffs are readily

ascertainable. For purposes of notice and other purposes related to this action, their names and

addresses are readily available from the Defendant. These similarly situated employees should be

notified of and allowed to opt-in to this action pursuant to 29 U.S.C. § 216(b). Unless the Court

promptly issues such a notice, persons similarly situated to the Plaintiffs, who have been

unlawfully deprived of overtime pay and minimum wage in violation of the FLSA, will be unable

to secure compensation to which they are entitled, and which has been unlawfully withheld from

them by the Defendants.

                                  FIRST CLAIM FOR RELIEF
                                      FLSA OVERTIME

       32.     Plaintiff alleges and incorporates by reference all allegations in all preceding

paragraphs.

       33.     Defendants employed Plaintiff for workweeks longer than forty (40) hours and

willfully failed to compensate the Plaintiff for the time worked in excess of forty (40) hours per

week, at a rate of at least one and one-half times the regular rate, in violation of the FLSA.




                                                  6
      Case 2:24-cv-03392 Document 1 Filed 05/08/24 Page 7 of 10 PageID #: 7




        34.    Defendants’ violations of the FLSA, as described in this Complaint have been

willful and intentional. Defendants have not made a good faith effort to comply with the FLSA

with respect to its compensation of Plaintiff. Therefore, a three-year statute of limitations applies

pursuant to 29 U.S.C. § 255.

        35.    Plaintiff has been deprived of overtime compensation and other wages in amounts

to be determined at trial, and is entitled to recovery of such amounts, liquidated damages,

attorneys’ fees and costs pursuant to 29 U.S.C. § 216(b).

                           SECOND CLAIM FOR RELIEF
                     NEW YORK LABOR LAW: OVERTIME WAGES

        36.    Plaintiff alleges and incorporates by reference all allegations in all preceding

paragraphs.

        37.    Defendants employed Plaintiff for workweeks longer than forty (40) hours and

willfully failed to compensate him for the time worked in excess of forty (40) hours per week at a

rate of at least one and one-half times his regular rate in violation of NYLL.

        38.    By Defendants’ failure to pay Plaintiff overtime wages for hours worked in excess

of 40 hours per week, they have willfully violated the NYLL Article 19, § 650 et seq., and the

supporting New York State Department of Labor Regulations, including 12 N.Y.C.R.R. Part 146.

        39.    Plaintiff is entitled to recover from Defendants unpaid overtime wages, liquidated

damages, reasonable attorneys’ fees and costs of the action, and pre-judgment and post-judgment

interest.

                           THIRD CLAIM FOR RELIEF
                     NEW YORK LABOR LAW: SPREAD OF HOURS

        40.    Plaintiff alleges and incorporates by reference all allegations in all preceding

paragraphs.



                                                 7
     Case 2:24-cv-03392 Document 1 Filed 05/08/24 Page 8 of 10 PageID #: 8




       41.     Defendants willfully failed to pay Plaintiff one additional hour pay at the basic

minimum wage rate before allowances for each day the spread of hours exceeded ten (10) in

violation of in violation of N.Y. Comp. Codes R. & Regs. 12 § 146-1.6 and NYLL.

       42.     Plaintiff is entitled to recover from Defendants spread of hours pay, plus interest,

liquidated damages, reasonable attorneys’ fees and the costs of this action.

                            FOURTH CLAIM FOR RELIEF
                        NEW YORK LABOR LAW WAGE NOTICE

       43.     Plaintiff alleges and incorporates by reference all allegations in all preceding

paragraphs.

       44.     Defendants failed to provide Plaintiff upon hire with an accurate written of his rate

of pay and other information in violation of N.Y. Comp. Codes R. & Regs. 12 § 146-2.2 and

Section 195 of the NYLL.

       45.     Plaintiff is entitled to recover statutory damages from Defendants.

                           FIFTH CLAIM FOR RELIEF
                    NEW YORK LABOR LAW: WAGE STATEMENTS

       46.     Plaintiff alleges and incorporates by reference all allegations in all preceding

paragraphs.

       47.     Defendants failed to furnish Plaintiff with a statement with every payment of wages

listing the regular hourly rate or rates of pay, the overtime rate or rates of pay, the number of

regular hours worked, and the number of overtime hours worked in violation of in violation of

N.Y. Comp. Codes R. & Regs. 12 § 146-2.3 and NYLL § 195(3).

       48.     Plaintiff is entitled to recover statutory damages from Defendants.




                                                 8
     Case 2:24-cv-03392 Document 1 Filed 05/08/24 Page 9 of 10 PageID #: 9




                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for the following relief:

       (i)     Unpaid wages and an additional and equal amount as liquidated damages pursuant

to 29 U.S.C. § 201 et seq. and the supporting United States Department of Labor regulations;

       (ii)    Certification of this case as a collective action under 29 U.S.C. § 216(b);

       (iii)   Unpaid overtime wages, spread of hours pay and statutory damages for violations

of New York Labor Law § 195, liquidated damages and pre- and post-Judgment interest;

       (iv)    Issuance of a declaratory judgment that the practices complained of in this

Complaint are unlawful under NYLL, Article 19, § 650 et seq., and the supporting New York State

Department of Labor Regulations;

       (v)     All attorneys’ fees and costs incurred in prosecuting these claims; and

       (vi)    Such other relief as this Court deems just and proper.

Dated: Hauppauge, New York
       May 8, 2024
                                             ROMERO LAW GROUP PLLC

                                             /s/ Peter A. Romero
                                      By:    ______________________
                                             Peter A. Romero, Esq.
                                             490 Wheeler Road, Suite 277
                                             Hauppauge, New York 11788
                                             Tel. (631) 257-5588
                                             promero@romerolawny.com

                                             Attorneys for Plaintiffs




                                                 9
Case 2:24-cv-03392 Document 1 Filed 05/08/24 Page 10 of 10 PageID #: 10
